   Case 2:10-cr-00209-MHT-KFP Document 37 Filed 01/18/11 Page 1 of 4




    IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )        2:10cr209-MHT
THOMAS K. FRYE                    )            (WO)
KATHY M. FRYE                     )

                        OPINION AND ORDER

    This cause is before the court on defendants Thomas

and Kathy Frye’s unopposed motion to continue.                 For the

reasons   set   forth    below,    the    court    finds    that   jury

selection and trial, now set for February 28, 2011,

should be continued pursuant to 18 U.S.C. § 3161(h)(8).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.       The Act provides in part:

          “In any case in which a plea of not
          guilty is entered, the trial of a
    Case 2:10-cr-00209-MHT-KFP Document 37 Filed 01/18/11 Page 2 of 4




          defendant charged in an information or
          indictment with the commission of an
          offense shall commence within seventy
          days from the filing date (and making
          public)    of   the    information    or
          indictment, or from the date the
          defendant has appeared before a judicial
          officer of the court in which such
          charge is pending, whichever date last
          occurs.”

Id. § 3161(c)(1).          The Act excludes from the 70-day

period any continuance based on “findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”     Id.    §   3161(h)(8)(A).           In   granting    such     a

continuance, the court may consider, among other factors,

“whether the failure to grant such a continuance ...

would deny counsel for the defendant ... the reasonable

time necessary for effective preparation, taking into

account     the     exercise       of     due        diligence.”        Id.

§ 3161(h)(8)(B)(iv).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and the Fryes in a speedy trial.


                                   2
    Case 2:10-cr-00209-MHT-KFP Document 37 Filed 01/18/11 Page 3 of 4




Counsel for the Fryes represents that, on January 14,

2011, he was retained to represent the Fryes.                        This

representation requires that he review 14 three-ring

binders of material, as well as additional discovery that

the Justice Department Tax Division will be producing.

The Fryes’ counsel cannot properly represent them until

he has reviewed this voluminous material, and he is

physically unable to do so prior to the current trial

date.     The Fryes, therefore, need more time to prepare

for trial.    The court’s decision is supported by the fact

that the government does not oppose this motion.



                                 ***

    Accordingly, it is ORDERED as follows:

    (1) Defendants Thomas and Kathy Frye’s motion for

continuance (doc. no. 34) is granted.

    (2)    The   jury    selection      and   trial,     now   set      for

February 28, 2011, are reset for June 20, 2011, at 10:00

a.m., in Courtroom 2FMJ of the Frank M. Johnson Jr.



                                   3
   Case 2:10-cr-00209-MHT-KFP Document 37 Filed 01/18/11 Page 4 of 4




United States Courthouse Complex, One Church Street,

Montgomery, Alabama.

    DONE, this the 18th day of January, 2011.

                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
